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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 LOREN OWENS,
        Plaintiff,                                  Case No. 1:25-CV-00321
                                                    Hon. Jane M. Beckering
 v


 Port City Associates Group Corporation,
 City2shore Real Estate Inc., Steve Frody,
 Shelley Frody, Kellen Keck, Emmersyn Sheak,
 and John Does 1-10

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          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
               PLAINTIFF’S EX-PARTE MOTION AS TO DOES 1-10
              FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA
                    PRIOR TO A RULE 26(F) CONFERENCE

                          STATEMENT OF ISSUES PRESENTED

 Statement of Position: As per Local Rule 7.1(a), Plaintiff files this Memorandum in support of

 its Motion for Leave to Serve a Third Part Subpoenas so that it may subpoena Doe Defendant’s

 customer relationship management and lead generation software for Doe Defendant’s true identity.
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 There exists good cause for early discovery because there is no alternative means to identify Doe

 Defendant, and his or her identity is necessary to serve the process so that Plaintiff may litigate the

 lawsuit.

 Issue Presented: Has Plaintiff demonstrated good cause such that this Court should allow Plaintiff

 leave to serve a third-party subpoena on Doe Defendant’s customer relationship management and

 lead generation software prior to a Rule 26(f) conference?

 Plaintiff’s Answer: Yes. Doe Defendants are anonymous parties who violated Plaintiff’s rights,

 and Plaintiff has filead a Prima Facia case against them. Plaintiff seeks this Court’s permission to

 subpoena Defendants Does’ customer relationship management software so that it may identify

 Does, allowing Plaintiff to serve the Doe Defendants and move forward with its case.
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           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
               PLAINTIFF’S EX-PARTE MOTION AS TO DOES 1-133
               FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA
                    PRIOR TO A RULE 26(F) CONFERENCE

         Pursuant to Fed. R. Civ. P. 26(d)(1)            Plaintiff hereby respectfully submits this

 Memorandum of Points and Authorities in support of their Motion for Leave to serve a third-party

 subpoena prior to a Fed. R. Civ. P. 26(f) conference.


    I.      INTRODUCTION
         Plaintiff Loren Owens (“Owens”) is the owner of phone number (XXX) XXX-5526

 Compl., ¶¶ 41 (PageID.10). Plaintiff Owens has received thousands of illegal telemarketing and

 spam calls and text messages despite being on the national do-not-call list. Compl., Exhibit 8

 (PageID.48).

         In addition to Owens's illegal calls, the Plaintiff’s counsel has numerous other clients who

 have received and reported tens of thousands of spam calls and texts in which the telemarketers

 have hidden their identities, making it difficult to track down the tortfeasors without discovery. In

 the present case, Plaintiff was callead and texted by a company claiming she consented to the calls

 and text under the name Beranice Crocker Compl., Exhibit 8 (PageID.48). At no time did Ms.

 Owens know of the company and has never used the name Beranice Crocker (Id.)

         Plaintiff and Plaintiff's Counsel have attempted to identify Doe Defendants 1-10 without

 seeking expedited discovery. However, the telemarketers/lead generators hide their identities

 while selling their services to other people. Here, someone created a fake lead to generate false

 consent to call Ms. Owens at her phone number; however, at no time has Ms. Owens used the

 name Beranice Crocker. It is common for telemarketers to claim they have consent to call and to

 claim the TCPA does not apply to the calls and texts. However, as Ms. Owens did not provide

 any consent to be contacted and has never used the name Beranice Crooker. Compl., Exhibit 8
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 (PageID.48) It is clear that this false lead was done to attempt to get around Ms. Owens's registry

 on the Do Not Call List. Plaintiff therefore seeks to obtain this information from third parties

 pursuant to Fed. R. Civ. P. 45 by subpoenaing factual information relevant to the identities of the

 Doe Defendants.

        The plaintiff acknowledges that the number of Doe Defendants named in this case, which

 currently stands at 10, may not accurately reflect the actual number of individuals involved. It is

 possible that a single individual may be responsible for multiple calls and text to the plaintiff,

 thereby reducing the total number of distinct Doe Defendants.

        One of the only meaningful ways to identify the callers who initiated the calls to Plaintiff

 is through the logs where the lead came from. However, not all caller/dialer/lead generator(s)

 providers preserve call and IP transmission logs for an extended period of time. In fact, in prior

 telemarketing violation cases, Plaintiff’s counsel has encountered dialer and lead generator

 providers that, in the regular course of their business, destroy log records every 90 -120 days.

        As a result, to ensure the preservation of the call transmission and IP logs needed to identify

 the violative calls, prior to filing litigation on March 8, 2025, Plaintiff’s Counsel served an e-

 discovery preservation notice on all named defendants, asking them to identify the parties that

 have relevant information. After filing litigation and in Plaintiff’s Notice of Litigation and Request

 to waive the service of the summons on March 24, 2025, Plaintiff Counsel reminded the parties of

 their duty to preserve evidence. The named defendants have failed to respond to the notice, nor

 has any attorney filed notice; plaintiff is in the process of serving the summons and complaint.

        Plaintiff has not been provided with any notice or proof that preservation notices have been

 sent to the caller/dialer/lead generator (s) or their providers or that any records have been

 preserved. No named party or Counsel for any named defendant has identified the caller/dialer(s),
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 so additional notices and an e-discovery preservation notice could be issued to ensure call

 transmission logs were preserved.

        As a result, Plaintiff seeks to immediately commence limited discovery to identify the

 dialers/lead generator provider(s) and ensure the preservation of call and IP transmission logs

 reflecting robocalls/telemarking regarding the phone calls and text messages Plaintiff received.

        Most of the telemarketing calls that Plaintiff has received from the Doe Defendants involve

 multiple parties, who each may be liable for the violations of the Telephone Consumer Protection

 Act "TCPA" 47 U.S.C. 227 et seq."

        Depending on how the telephone campaign is arranged, how many parties are involved in

 the Doe Defendant’s illegal telemarking for which Doe Defendants are liable for TCPA violations

 is unknown.

        To understand what parties can be involved, it is necessary to understand the following

 components of any telephone campaign where parties have a concert of action to a common design.

        MOST ALWAYS PRESENT IN TELEPHONE CAMPAIGN

        i.      Lead Generator: The Party/person/company that generates a lead or phone

                number to call or text.

        ii.     Caller/Dialer: The Party/person/company initiating the sending of the phone call

                or text message.

        iii.    Seller: The Party/person/company whose goods or services that are being

                marketed/promoted/sold.

        iv.     Telephone Service Provider: The company that provides telephone services to

                callers/dialers.
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          v.       Software Provider: A company that provides dialer software to the call center and

                   their employees and agents.

          Because telemarketing companies like Doe Defendants hide their identities, it is impossible

 to know who they are to name them at this time. Telemarketing companies like Doe Defendants

 have used many tactics to hide their identities, including purposefully not telling who they are,

 using fake names, creating anonymous web pages, registering their U.S. companies overseas,

 providing invalid callback numbers so they cannot be reached, not answering when someone

 returns missed calls, immediately hanging up if you ask what business they are with, and more.

          Plaintiffs have already identified the lead generator InsideRE, LLC dba BoldTrail provider

 used by the Doe Defendants in this case, which has discoverable information related to the

 identities of the Callers and others who may be liable. All tracking of phone numbers and text

 messages used to make the phone calls and texts are registered and stored in the BoldTrail system.

 A printout from the BoldTrail system has been provided in the Complaint at Exhibit 7. Compl.,

 Exhibit 8 (PageID.45-47). It is clearly visible that the lead was generated as a fake lead, as they

 named is Crocker PSYCHO (Id.)

          BoldTrail is a fully integrated software for real estate sales and brokers. They market as

 “Experience the most robust, next-generation real estate tech solution, from an AI-empowered

 Smart CRM and customizable IDX websites, to lead generation services, recruiting tools, and

 powerful back office automation. Bring your entire business together and drive scalable growth

 with BoldTrail.” 1 It is the companies' “lead generation services” that are an issue in this motion.

          Plaintiff will need to issue Subpoena to BoldTrail, which should reveal the identities of the

 Callers initiating the calls and texts, as well as the identities of those who may be individually or



 1 https://boldtrail.com/ (Last Accessed March 29, 2025)
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vicariously liable. Plaintiff will seek for Bold Trail to turn over limited information it has on the

calls and texts in question for the period of March 2025 to the plaintiff's number. Plaintiff will also

seek information on how the lead was generated, including the IP address and source of the lead.

       Plaintiffs’ counsel has experience in uncovering the identities of unknown individuals

through professional investigation, forensics, and subpoenas.

       The Plaintiffs’ counsel is the Qualifying officer for NVHUSC Investigation PLLC, a

licensed Professional Investigator Agency Licensed by the State of Michigan, License Number

3701300155.

       Plaintiffs’ counsel is a boutique law office that practices consumer protection, with a large

portion of its practice in the Telephone Consumer Protection Act and the Michigan Home Sales

Solicitation Act.

       In recent years, the plague of unsolicited telephone spam and persistent violations of the

Do Not Call List has become an intolerable intrusion into the lives of countless individuals. The

Doe Defendants in this case, through their actions or omissions, have contributed to this growing

problem. The Plaintiff seeks to hold these parties accountable, but to do so, the responsible

individuals and entities must first be identified. The requested discovery is crucial to uncovering

the identities of those involved in these unlawful practices. Without this information, the Plaintiff

is deprived of the ability to effectively pursue legal remedies and protect their rights under the law.

Therefore, this motion to expedite discovery is not merely procedural; it is a necessary step toward

ending the widespread abuse of the Do Not Call List and enforcing compliance with federal

regulations designed to protect consumers.

   A. Subpoena To BoldTrail for its Lead Generation Service
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       The Doe Defendants initiated the unlawful calls and texts through BoldTrail that utilized

the services. BoldTrail directly possesses the identities of the end-users responsible for these

communications,

       The subpoena to BoldTrail is, therefore, essential for the Plaintiff, as it will allow the

identification of the parties. This information is vital for tracing the origin of the unlawful

communications and holding the appropriate parties accountable.

       II. LEGAL STANDARD & ARGUMENT



A. Legal Standard Governing Expedited Discovery Requests to Identify An Anonymous
Defendant
       Plaintiff and Plaintiff’s counsel are aware John Doe Defendants are disfavored in Federal

Courts. However, the Sixth Circuit has held, “Although the designation of a 'John Doe' defendant

is not favored in the federal courts, it is permissible when the identity of the alleged defendant is

not known at the time the complaint is filed, and plaintiff could identify defendant through

discovery. [cites omitted]” Yates v. Young, 772 F.2d 909 (6th Cir. 1985).

       In this case, the Plaintiff has been unable to identify the Defendants at the time of filing the

complaint due to the nature of the unlawful communications and the multiple layers of service

providers involved. However, through the discovery process, including the issuance of subpoenas

to entities like BoldTrail, Plaintiff expects to uncover the identities of the parties responsible for

the violations. The Plaintiff’s use of "John Doe" defendants is therefore consistent with the Sixth

Circuit’s allowance for such designations when discovery is necessary to identify the Doe

Defendants.

       Furthermore, Plaintiff and Plaintiff’s counsel know they may not seek discovery from any

sources before the parties have conferred at a discovery conference unless “when authorized…by
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court order.” Fed. R. Civ. P. 26(d)(1).        In cases like this, when there are unknown Doe

Defendant(s), Plaintiff “cannot serve [her] complaint—much less confer with the defendant—

without obtaining identifying information from a third party.” Strike 3 Holdings, LLC v. Doe, 964

F.3d 1203, 1207 (D.C Cir. 2020). Accordingly, “the only potential avenue for discovery is [a court

order] under Rule 26(d)(1).” AF Holdings, LLC v. Does 1-1058, 752 F.3d 990, 995 (D.C. Cir.

2014)

        The United States District Court for Eastern Michigan has held that “courts generally allow

a plaintiff to identify the unknown defendant through discovery, unless it is clear that discovery

would not uncover the identities of the defendants. Haney v. 5th E. Dist. Police Dep't, No. 12-CV-

14684, 2012 WL 5389914, at *4 (E.D. Mich. Nov. 5, 2012) (citing Yates v. Young, 772 F.2d 909

(Table), 1985 WL 13614, *2 (6th Cir. Aug.28, 1985)” Staples v. United States, Case No. 16-cv-

12367 (E.D. Mich. Jul 06, 2016)” Here Plaintiff seeks to leave to start the discovery process early

enough to allow the Doe Defendants to participate in the case as soon as they can be identified and

not delay the case.

        Under Fed. R. Civ. P. 26(d)(1), the Court has the power to order that a party may seek

discovery before the discovery planning conference. Fed. R. Civ. P. 26(d)(1), (f). Upon a “showing

of good cause,” discovery has been allowed from internet service providers regarding John Doe

defendants. “A party may not seek discovery from any source before the parties have conferred as

required by Fed. R. Civ. P. 26(d)(1) [unless authorized] by stipulation, or by court order.” Fed. R.

Civ. P. 26(d)(1). “[A] district court has the discretion to permit the early issuance of a Fed. R. Civ.

P. 45 subpoena prior to a Fed. R. Civ. P. 26(f) conference. This issue arises not infrequently in

copyright infringement cases where the identity of the alleged infringer is not known.” Malibu
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Media, LLC v. John Does 1-9, No. CV 12-12587, 2013 WL 142083, at *1 (E.D. Mich. Jan. 11,

2013) (citing Arista Records, LLC v. Doe 3, 604 F.3d 110 (2nd Cir. 2010)).

       Neither the United States Supreme Court nor the Sixth Circuit have yet given District

Courts clear direction on how to address this type of discovery request. Looking at a collection of

cases in the Sixth Circuit shows us how the District Courts have been addressing this request.

“While courts differ on the specific factors used to determine “good cause,” all courts seem to

agree that, … “good cause is easily established . . . where, as here, plaintiff has established that it

cannot meet its service obligation under Fed. R. Civ. P. 4 without the requested discovery.”

(Internal citations removed) Strike 3 Holdings LLC v. Doe, 5:24-cv-545 (N.D. Ohio Apr 17,

2024). Here, Plaintiff has no reasonable means absent discovery to identify the tortfeasors.

       Other courts have applied different standards on the ‘good cause.’ “While courts are split

on the standard to be applied in such instances, and the Sixth Circuit has not addressed the issue,

several courts in this district have applied a ‘good cause’ standard to determine whether such

discovery should be authorized.” Third Degree Films, Inc. v. Does 1-72, No. CV 12-14106, 2012

WL 12931709, at *1 (E.D. Mich. Nov. 13, 2012) (collecting cases). Indeed, this Court uses the

five-factor analysis from Arista to determine whether a good cause exists.

       “In cases such as the one before the Court alleging copyright infringement against John
       Doe Defendant, courts generally find “good cause” exists when the plaintiff (1) makes a
       prima facie showing of a claim of copyright infringement; (2) submits a discovery request
       to the Court; (3) establishes there is no alternative means to obtain the subpoenaed
       information; (4) demonstrates a central need for the subpoenaed information; and (5) shows
       the defendants whose information is at issue have a minimum expectation of privacy.”


Malibu Media, LLC v. John Does 1-31, 297 F.R.D. 323, 328 (W.D. Mich. 2012) (citing Arista

Records, LLC v. Doe 3, 604 F.3d 110 (2nd Cir. 2010) (numerous citations omitted)). “All five

factors weigh in Plaintiff’s favor, and there is good cause for early discovery. Plaintiff has such
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good cause to warrant expedited discovery.” See e.g., Strike 3 Holdings, LLC v. Doe, No. CV 19-

11299, 2019 WL 2265171, at *2 (E.D. Mich. May 28, 2019).

        In TCPA putative class actions, courts regularly find that good cause for expedited

discovery exists where there is a risk that call transmission logs that reflect the calls to the putative

class may be destroyed as a result of the dialer provider’s normal retention policies. E.g., Swetlic

Chiropractic & Rehab. Ctr., Inc. v. Foot Levelers, Inc., No. 16-cv-236, 2016, Case No. 2:16-cv-

236 (S.D. Ohio Apr. 27, 2016)

        In fact, in these circumstances, courts often compel the defendants themselves to retrieve

the call transmission logs. E.g., Dickson v. Direct Energy, Inc., No. 18-cv-00182-GJL, Docket

Order (N.D. Ohio May 21, 2018) (“granting plaintiff's motion to compel defendant Total

Marketing Concepts, LLC to gather/retrieve all telecommunication records from their vendor to

avoid the destruction of records that identify putative class members”); see also Fitzhenry v. Career

Edu. Corp., No. 14-cv-10172, Order [ECF 101] (N.D. Ill. Feb. 25, 2015) (“The stay on discovery

is modified for the limited purpose of requiring Defendant to obtain and retain records of all

outbound calls that were made for purposes of generation of leads for education services.”).

1. Information is Within the Scope of Discovery and not Privileged or Confidential


        The United States District Court for the Eastern District of Pennsylvania looked at a case

involving Strike 3 Holdings, LLC v. Doe Subscriber Assigned IP Address 68.82.141.39, 370

F.Supp.3d 478 (E.D. Pa. 2019), where the Doe Subscriber attempted to challenge the Doe

Subpoena. The Court found that seeking only the names and addresses of the subscriber was

“certainly within the scope of discovery under the Federal Rules of Civil Procedure. See Fed. R.
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Civ. P. 26(b)(1).” Strike 3 Holdings, LLC v. Doe Subscriber Assigned IP Address 68.82.141.39,

370 F.Supp.3d 478 (E.D. Pa. 2019)

       The court further went on to state that “[t]here is no basis to conclude that the information

is privileged or confidential or otherwise cannot properly be released pursuant to a subpoena. See

id. At [Fed. R. Civ. P.] 45(d)(3).” Id. The information being sought for the limited purpose of

identifying the tortfeasors who harassed the Plaintiff in the case. Information could be destroyed

without the subpoenas, and there is no other way to identify the callers. The District Court found

“[w]e are satisfied that there are no other means for Strike 3 to obtain defendant's identity. If

defendant cannot be identified and served, the action cannot proceed, and Strike 3 would be left

without a remedy for any infringement of its copyrights. See Blakeslee v. Clinton Cty., 336 F.

App'x 248, 250 (3d Cir. 2009).” Id.

B. There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve Its
Subpoena


1. Plaintiff’s Complaint Makes a Prima Facie Claim for violations of the TCPA.
       Plaintiff’s Complaint establishes a prima facie claim for violations of the TCPA. The

complaint clearly alleges that the Doe Defendant(s) and named Defendants engaged in unsolicited

and unauthorized communication, specifically through repeated phone calls and text messages,

without the plaintiff's prior express consent. 47 U.S.C. § 227(b)(1)(A). These actions directly

contravene the provisions of the TCPA, which prohibits such communications. By demonstrating

the occurrence of these violations and the resulting harm, the plaintiff has sufficiently presented a

legally actionable claim under the TCPA, warranting further legal proceedings.

2. Plaintiff Identifies the Limited and Specific Information its Subpoena seeks that is
necessary to serve Doe Defendant.
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       Plaintiff’s subpoena is limited and only requests the true name and address of subscribers

of the listed phone numbers. The information sought in Plaintiff’s subpoena is “sufficiently

tailored to Plaintiff's limited goal of effectuating service on the Doe Defendant” and thus weighs

in favor of granting leave. Cook Prods., Inc. v. Does 1-9, No. CV 16-838-DJH, 2017 WL 4077014,

at *2 (W.D. Ky. Sept. 14, 2017).

3. There Are No “Alternative Means” to Uncover Doe Defendant’s True Identity
       At this early stage in the litigation, Plaintiff has a limited view of Defendant’s true identity,

only having access to the offending phone calls. Each phone call was a valid Voice over Internet

Protocol Phone and not a spoofed phone number. Telephone Service Provider records are the

only evidence that allows the plaintiff to identify who committed the violations of the TCPA. Since

there is no public registry of what phone numbers correspond to which subscribers, Plaintiff's

subpoena is necessary to advance litigation. See cf. Strike 3 Holdings, LLC v. Doe, No. CV 17-

1680 (CSH), 2017 WL 5001474, at *4 (D. Conn. Nov. 1, 2017).

4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s TCPA case.
       To effectively pursue legal action, the plaintiff must ascertain the defendant’s identity, as

this information is crucial for serving legal documents and proceeding with the litigation. Without

identifying the defendant, the plaintiff would be unable to engage in necessary discovery or hold

the responsible party accountable, thereby stalling the entire legal process. “[T]he identity of the

individuals is necessary to move the case forward and without this information, Plaintiff[] would

not be able to determine the identities of [Doe].” Arista Records, LLC v. Does 1-4, No. CV 7-

1115, 2007 WL 4178641, at *3 (W.D. Mich. Nov. 20, 2007).
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5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by Plaintiff’s
Interest in Protecting Her Right to Privacy.
          In a TCPA suit, the Doe Defendant’s minimal privacy interest is substantially outweighed

by the plaintiff’s compelling interest in protecting her right to privacy. The defendant’s claim to

privacy, particularly in the context of unsolicited communications, is inherently limited when those

actions infringe upon the plaintiff’s legally protected privacy rights. The Telephone Consumer

Protection Act was specifically designed to shield individuals from the type of invasive practices

that the defendant has allegedly engaged in, such as unwanted calls or texts.

          While a Doe defendant may argue a right to privacy, this interest pales in comparison to

the plaintiff's right to be free from unwarranted intrusions into her personal life. The plaintiff’s

right to privacy includes the right to control who contacts her and when, especially in her own

home or on her personal device. The TCPA reflects a societal consensus that individuals should

not have to endure harassment or invasions of privacy from unsolicited communications.

Therefore, in balancing these interests, it is clear that the plaintiff's right to protect her privacy

significantly outweighs any minimal privacy interest the defendant might assert.

   As a result, there is good cause for permitting the requested discovery. First, there is an

imminent risk that the unidentified and non-responding dialer(s)/Doe Defendants provider may

destroy the call transmission logs in the regular course of business.

          Second, the call and IP transmission logs are a critical piece of evidence necessary to

advance this case and to prove the Plaintiffs claims at trial if the Defendants motion to dismiss is

denied.

          Third, the discovery requested is narrowly tailored to ensure the preservation of exclusively

this evidence and to identify the Doe Defendants.
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III. CONCLUSION
      For the foregoing reasons, Plaintiff respectfully requests this an Order from this Court:

      (1) Granting Plaintiff’s Ex-Parte Motion as to Does 1-1 for leave to serve a third-party

         subpoena prior to a Fed. R. Civ. P. 26(f) conference;

                               BoldTrail by Inside Real Estate, LLC
                              434 W Ascension Way, Suite 110,
                              Murray, UT 84123
                              Phone: 800-656-1646
                              Email: connect@insiderealestate.com


             a.   BoldTrail by Inside Real Estate, LLC be required to produce the user of their

                  cloud software used to place calls and text messages to Plaintiffs Phone in

                  March of 2025.

             b.   BoldTrail by Inside Real Estate, LLC cloud lead generator provider/software

                  to provide the end user information including the name, address, phone number,

                  and email address of the end-user.

             c.   BoldTrail by Inside Real Estate, LLC cloud lead generator provider/software

                  to provided information on how the lead was created, entered into their systems,

                  including any identifying information of time, date, email address, phone

                  numbers, IP address, browser used, any tracking cookie information or other

                  identifying information.

             d. To preserve all records related to the lead generated and not delete or allow

                  changes to be made.

      (2) Providing any other relief the Court deems just and proper
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Date: March 29, 2025                      /s/ Joshua S. Goodrich, J.D., LL.M.
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